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        EXHIBIT B
Case 2:22-cv-00255-JRG-RSP Document 1-2 Filed 07/08/22 Page 2 of 27 PageID #: 61
                                                                   I 1111111111111111 11111 111111111111111 IIIII IIIII 11111 111111111111111 IIII IIII
                                                                                                 US008122004B2


  cs United States Patent                                                   (10)   Patent No.:                     US 8,122,004 B2
         Hedge et al.                                                       (45)   Date of Patent:                          *Feb.21,2012

  (54)   GENERATING AND PROVIDING RICH                                  (58)    Field of Classification Search .. ... .. ... ... ... .. 707/770,
         MEDIA PRESENTATIONS OPTIMIZED FORA                                              707/709 715/234, 243; 709/201, 224, 231,
         DEVICE OVER A NETWORK                                                                                        709/207, 223, 226
                                                                                See application file for complete search history.
  (75)   Inventors: Kiran Venkatesh Hedge, Redmond, WA
                    (US); Raymond Edward McGrath, III,                  (56)                       References Cited
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                      patent is extended or adjusted under 35                                          (Continued)
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                                                                        Interface Protocol (UNDIP)" Local Computer networks, 1988,
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                                                                        10-12, 1998 (pp. 301-309-1-9).*
  (22)   Filed:       Oct. 26, 2009                                                                    (Continued)
  (65)                   Prior Publication Data                        Primary Examiner Jean B Fleurantin
         US 2010/0100636Al            Apr. 22, 2010                    Assistant Examiner Anh Ly
                                                                        (57)                     ABSTRACT
                   Related U.S. Application Data
                                                                        Generating and providing rich media presentations to a
  (63)   Continuation of application No. 11/603,381, filed on           requesting device is described. Attributes of the requesting
         Nov. 21, 2006, now Pat. No. 7,818,321, which is a              device are determined and used to create optimized code for
         continuation of application No. 10/046,135, filed on           the requesting device. The attributes may include information
         Jan. 11, 2002, now Pat. No. 7,155,436.                         relating to the operating system of the requesting device; a
                                                                        media player; a bandwidth parameter; presence or absence of
  (60)   Provisional application No. 60/261,712, filed on Jan.
                                                                        a firewall, permissions related to the requesting device, and
         12, 2001.
                                                                        the like. A virtual player is created that includes code to play
  (51)   Int. Cl.                                                       media files. A presentation package is created that sets the
         G06F 7100               (2006.01)                              presentation attributes for the multimedia experience. A
         G06F 17130              (2006.01)                              media package is created that instructs the virtual player what
                                                                        multimedia content to play.
  (52)   U.S. Cl.         707/709; 707/770; 715/234; 715/243;
                                    709/207; 709/220; 709/226                              25 Claims, 14 Drawing Sheets
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                                         110

         0
         MOBILE
                                                                   0
                                                               MOBILE
                                                               DEVICE
         DEVICE
                                                               (FIG. 4)
         (FIG. 4)

                                 Wireless Network
                                                                      107
            105




                                                                   0
                                                                   MOBILE
           DEVICE                                                  DEVICE
           (FIG. 4)                                                (FIG. 4)



              106                                                     108




                                                             122              124


                        300                                Audio/           Script/
         Origin                     Wide Area
                                                           Video            Data
      WW/Server       b
                      d           Network/Local
                                                           CDNs             CDNs
       (FIG. 3)                   Area Network
                                     (FIG. 2)
                                                                    CDN



                                                                     120


        NETWORK
      DEVICE (FIG. 4)
                                    Origin
                                  WWW Server         300
                                   (FIG. 3)




                                       Fig.1
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                LAN                                      LAN




                                    WIDE                    230
                                    AREA
                                  NETWORK
                                                                              - 210
                                  (WAN)
                                                                             ROUTER




                                                   210


                            240




                                   LOCAL
                                   AREA
                                  NETWORK
                                   (LAN)

                                                                  240




                                                     REMOTE
                                                    COMPUTER

                       /
                      200

                                    Fig.2
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                                                     www server

                                          CPU                           N12
                                                                                             322
                36                                                                      h
               r'      I         320                          I                                     310
                      RAM     �
                                                    CD-ROM/ w
                    operating                       DVD-ROM              ["                        �
                     system          I                drive
                                                                                             network
                                                                                                                -
                 wwwserver
                                     r          330
                                           I'-. /
                                                334
                                                                  input/output
                                                                    interface
                                                                                             interface
                                                                                               unit
                                                                                                          I"'




                                                                                  r'\   324
                                         � I'-. J
                    programs
                                                                                        k
                 Rich Media                         336
                Presentations              h   l                                 hard disk               »
                 Application                                                       drive



                                               '---

                           332
                           >
                     ROM
                                                     video
                                                    display
                                                                   L
                                                                       r-v314
                                 318
                                                    adapter
                      bios       k                        h




                                                          Fig.3
Case 2:22-cv-00255-JRG-RSP Document 1-2 Filed 07/08/22 Page 7 of 27 PageID #: 66


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                                               -
                                        .- ·
                                        /
                                               5
                                               0!
                                               009ADI0L     I
                                                                    -
                                                                              400
                                                                        ________ 2

                                               Network Device



                                                                                     412
                                                     CPU
                                                                                            422
                 46,,     I
                                                                                     J
                 I        I                                                                          410
                 '      RAM ,,420
                      operating                      Power
                                                                k
                                                                    /
                                                                        426                        ;>
                       system                                                               Network
                Rich Media , p                 430                         424
                                                                                            Interface �
                                               [                        )                     unit
            Presentations Playe L I
                Application                                input/output
                                                             interface        r
                                                                                                             .
                                               434
             I          programs        A      u
                                                                                     ._    LED
                                                                                                     [V450
                                                   436
             I       Data Storage
                                        kl 4p                   Keypad        -                      [V460
                                                                                     '-   Infrared
                                                                    A
                                                                                            /O
                              432
                              >
                         ROM

                                    H
                                      418
                                                     448
                                                                                     -     Audio     [
                          bios                 h
                                                                                     -     Display
                                                                                                     rv45t


                         Memory




                                                     Fig.4
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                                                              500
                                                        �



                         Request Co ten from CDN



                                                                                Assemble
                                                                                 Content
        Network Device                                        CDN               Based on
                                                                                Network
                                                                                 Device



                             Delive C ntent
                                                                       On a Miss, if Content
                                                                     Expires, or if Content is
                                                                            Modified,
                                                                    Obtain Content from Origin

                                                                          530




                                                       Origin Server




                                Fig. 5
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                                                                                    600
                                                                                 N
                                                                  605


                                          Network Device Content




          amssere y, g10
           Networks_\/
                                  ,    conentbarer ,615 [ 620
                                           Networks         l\/     FR°9
                                                                    e_   Networks         ]\/


             Rich Media Presentations Assembler Application




                                                                          650
                                                                         c:=?
                                Device Trackers and Detectors

                                          Object Handlers

                       630                    635                 640      645

                Presentation                               M la
                                      Virtual Player
                  Package                                 Package
                                       Assembler
                 Assembler                               Assembler




                      «.«««««««4«««««.«««««




                                               Fig. 6
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                                                                      700
                                                            705      s)



            GET /ClientDocument-1
                               t 1
                                                                     3   I


                                                         Device



       Client Web/Farm
                           710            If Switch
                                            is On


                                                                   Provide
                                                                                     740
                                                                  Packages      V

                           GET /Objects



                                   Content Delivery[Networks
                                            720                                            730
                                                                     Cache Virtual
                          Obtain Device
                                                                        Player
                             Specific
                                                                    Objects on the
                            Packages
                                                                             Edges




                                        [lo




                           Origin Ser     'er Farm
                                                  735
                               Generate the
                           package Specific to the}
                                                  ]
                                  device




                                  Fig.7
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                                                                  800
                                                            )
                                          810


                                  WINDOWSXP/
                                 Internet Explorer
                                        6.0
                850                                                      820

                                                 805
         WINDOWS NT/
                                                           Unix/Netscape 4.5
          Netscape 4.75


                                       Server


                840                                                       830


          WINDOWS ME
         Internet Explorer                                    OS/Browser
                5.0




                       Requesting               Mobile Device's
                      Device's Media
                                                 OS/Browser
                         Player




                                        Fig.8
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                      Start



              Determine if Network
              Device is Authorized        910

                                                                    930



                                                       Refuse Service



                      YES
                        T

               Determine Network
                Device Attributes         940
                  (FIG. 10-11)


               Provide Rich Media
                  Presentations
                   (FIG. 12-13)




                       End




                              Fig.9
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                                         (               )
                                              Start



                                     Detect Basic Opera ting
                                           Attributes




                                             ic Opera              1020
                                              racteris
                                             upporte
                  NO


                                                     Yes

                          1030

           Inform Requesting          Determine Network           1040
          Device that it is Not        Device Attributes
               Supported                     (FIG.11)




                                               End




                                     Fig.10
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                                Start




                         Determine Language
                                                     1

                          Determine Network
                                                            1120
                              Bandwidth




                         Determine if Firewall
                               Present                1o

                         Determine Permissions              1140




                            Determine Other
                              Attributes                    1150




                                     End




                            Fig.11
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                                                               1200


                                        Start
                                                               '
         Create Rich Media
      Presentation for Network   1220
           Device (FIG. 13)

                                                          Send Rich Media

            Presentation
                           a
                                 1230
                                                            Presentation
                                                         to Network Device
                                                                             37
       for Retrieval by Future
          Network Devices


          Send Rich Media
            Presentation
         to Network Device
                                 3y

                                        End



                                   Fig.12
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                               Start




               Create Virtual Player
                                          1320
                     Package
                                                 YES




                        NO<




               Create Presentation
                                          1340
                    Package
                                                 YES




                        NO-<




              Create Media Package        1360
                                                 YES


                                       Provide Appropriate
                                       Packages to Network      1370
                                             Device


                                                 End
                                                             Fig.13
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                                     Start




                            Generate Rich Media
                       Presentations utilizing Virtual       1410
                       Player Exposed API that is not
                               device specific




                               Presentation o
                                 Packages?                  0



                            Refresh Only changed        , 1430
                             Packages on device          \/
               NO




                                     End




                                     Fig.14
Case 2:22-cv-00255-JRG-RSP Document 1-2 Filed 07/08/22 Page 18 of 27 PageID #: 77


                                                        US 8,122,004 B2
                                 1                                                                       2
        GENERATING AND PROVIDING RICH                                        According to yet another embodiment, rich media presen-
      MEDIA PRESENTATIONS OPTIMIZED FORA                                  tations, including a virtual player, presentation packages, and
            DEVICE OVER A NETWORK                                         media packages, are provided to the requesting device. The
                                                                          creation of the rich media presentations is partly based on the
                   RELATED APPLICATIONS                              5    determined attributes and is directed at being optimized for
                                                                          the requesting device.
     This application is a continuation of and claims the benefit            According to still yet another embodiment, the rich media
   under 35 U.S.C. §120 to U.S. patent application Ser. No.               presentations may be delivered to the device before a request
   11/603,381, filed Nov. 21, 2006 and now U.S. Pat. No. 7,818,           is made by the device to play the presentation.
   321, which is a continuation of and claims the benefit under      10      According to still yet another embodiment, the rich media
   35 U.S.C. §120 to U.S. patent application Ser. No. 10/046,             presentations are retrieved from a location on the network that
   135, filed Jan. 11, 2002 and now U.S. Pat. No. 7,155,436,              is directed at providing optimized throughput to the request-
   which claims the benefit under 35 U.S.C. § 119(e) of U.S.              ing device. When the rich media presentations are cached at
   Provisional Application Ser. No. 60/261,712, filed Jan. 12,
                                                                     15
                                                                          the location on the network, the rich media presentations are
   2001, the disclosures of which are incorporated by reference
                                                                          delivered to the device. Otherwise, the appropriate rich media
   herein in their entirety.
                                                                          presentations are created for the device, and the rich media
                         BACKGROUND                                       presentations are cached for future delivery. Alternatively, the
                                                                          rich media presentations may be generated in real-time and
      The Internet has seen expansive growth over the last sev- 20        delivered.
   eral years. Not only are there more Web sites providing a wide
   range of information, service, and goods, there are more users              BRIEF DESCRIPTION OF THE DRAWINGS
   on the Internet than ever before.
      Today, users may experience multimedia clips, purchase              FIG. 1 illustrates a schematic diagram of an example net-
   goods, access the world's news as it happens, obtain reviews 25 work overview, in which one or more embodiments may
   on various items or products in a variety of formats, or access     operate.
   a variety ofresources all on the Internet. For example, a user         FIG. 2 shows a schematic diagram illustrating an example
   may read product reviews, view pictures of a product, or in         system overview in which local area networks and a wide area
   some instances, watch a video presentation related to the           network are interconnected by routers.
   product.                                                         30    FIG. 3 illustrates a schematic diagram of an example
      In order to access the available resources, however, Internet    server.
   users are exposed to a variety of different media types while          FIG. 4 shows a schematic diagram of an example network
   visiting a Web site. Not only may users access textual infor-       device.
   mation, they may also view graphical images, or watch mul-             FIG. 5 illustrates a functional block diagram showing an
   timedia presentations, including audio and video, that may be 35 on-demand content delivery system using a CDN.
   streamed or downloaded. The steps required to access this              FIG. 6 illustrates a schematic diagram of a rich media
   media, however, may be overwhelming to many of the users.           presentation system;
   Not only do certain sites require users to use particular prod-        FIG. 7 shows an overview of the rich media presentation
   ucts to access the media, many sites require the user to know       system.
   the configuration of their system in order to play certain 40          FIG. 8 illustrates an attribute inquiry system containing a
   media files. For example, a user may have to download a             set of example basic attributes of network devices.
   particular media player, upgrade to a different version, or            FIG. 9 shows an overview process of providing rich media
   know the particular programs they are using on their system.        presentations to an authorized network device.
   With so many available options to access and play media files,         FIG. 10 illustrates a process for determining attributes
   users are constantly bombarded with different requirements. 45 related to a network device.
      Another requirement to view many multimedia sites is a              FIG. 11 shows a process for retrieving additional attributes
   high bandwidth connection to the Internet. Many sites rely on       from a device.
   the user having a high bandwidth when streaming media to               FIG. 12 illustrates a process for selecting a content pro-
   the user. While the majority of businesses today have access        vider to provide a rich media presentation to a device.
   to broadband, the majority of home users connect to the 50             FIG. 13 shows a process for providing rich media presen-
   Internet through a low speed dial-up modem resulting in a           tations to a device.
   poor multimedia experience.                                            FIG. 14 shows a process for an e-retailer to create and
                                                                       modify rich media presentations; in accordance with one or
                              SUMMARY                                  more embodiments.
                                                                     55
      Methods and systems for providing rich media presenta-                              DETAILED DESCRIPTION
   tions to a network device are discussed herein.
      According to one embodiment, virtual player packages are               In the following detailed description of example embodi-
   delivered to a device over a network. The virtual player pack-         ments, reference is made to the accompanied drawings,
   ages are delivered to the requesting device in an optimized       60   which form a part hereof, and which is shown by way of
   manner.                                                                illustration, specific example embodiments. Each embodi-
      According to another embodiment, attributes of the device           ment is described in detail to enable those skilled in the art to
   are determined. The attributes may include information relat-          practice the described embodiments, and it is to be under-
   ing to the operating system of the device; a preferred media           stood that other embodiments may be utilized, and other
   player; a bandwidth parameter; presence or absence of a           65   changes may be made, without departing from the spirit or
   firewall, permissions related to the requesting device, and the        scope of the described embodiments. The following detailed
   like.                                                                  description is, therefore, not to be taken in a limiting sense,
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                                                        US 8,122,004 B2
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   and the scope of the appended claims is not limited to the             devices 105-108 into information suitable for WAN/LAN
   example embodiments described herein.                                  200, such as e-mail, audio, voice communication, contact
      Tbroughout the specification and claims, the following              databases, calendars, appointments, and the like.
   terms take the meanings explicitly associated herein, unless              Typically, WAN/LAN 200 transmits information between
   the context clearly dictates otherwise. The term "rich media      5    computing devices as described in more detail in conjunction
   presentation" includes a virtual player, presentation package,         with FIG. 2. One example of a WAN is the Internet, which
   and media package. The term "virtual player" means a set of            connects millions of computers over a host of gateways, rout-
   proxy codes that are implemented at runtime with code opti-            ers, switches, hubs, and the like. An example of a LAN is a
   mized specifically to the device in question to play media             network used to connect computers in a single office. A WAN
   content. The term "presentation package" means attributes         10
                                                                          may connect multiple LANs.
   that offer a way to dynamically and remotely control user
                                                                             Content delivery network (CDN) 120 is coupled to WAN/
   experience for wide-ranging streaming media playback
                                                                          LAN 200 through communication mediums. CDN 120 may
   devices that correspond to display and presentation of media.
   The term "media package" means a way to dynamically and                include many types of CDNs. For example, CDN 120 may
   remotely control varying types of media content to a wide         15
                                                                          include audio/video CDNs 122 designed to optimally deliver
   range of network media playback devices without having to              audio and video or script/data CDNs 124 designed to opti-
   deal with the specifics of each device nor the streaming server        mally deliver script or data to the requesting device. CDNs
   network protocols. The term "provider" means the party that            use various techniques to improve the performance of content
   provides the rich media presentations to a device. The term            delivery for Web sites. They may increase reliability of a web
   "e-retailer" means a party that has an affiliation with the       20   site by providing mirrored content across distributed servers
   provider. Referring to the drawings, like numbers indicate             and provide increased bandwidth as compared to a single
   like parts throughout the views. Additionally, a reference to          server. CDN s may also employ various caching techniques to
   the singular includes a reference to the plural unless other-          increase the end user's performance. Content may be pushed
   wise stated or is inconsistent with the disclosure herein.             to the edges of the network to minimize delay associated with
   Illustrative Operating Environment                                25   retrieving the content. Load balancing may also be used to
      With reference to FIG. 1, an example system includes                help route a user's request for content to the best available
   wireless mobile devices 105-108, wireless network 110, gate-           content source. Typically, a web site subscribes to a CDN and
   way 115, one or more content delivery networks (CDN) 120,              instructs the CDN how to deliver its content. The subscribing
   wide area network (WAN)/local area network (LAN) 200,                  web site may serve some content on its own avoiding the
   one or more network devices 130, and one or more world            30   CDN and use the CDN to serve other content. While CDNs
   wide web (WWW) origin servers 300.                                     are typically used for WAN/LAN applications, the technol-
      Wireless devices 105-108, are coupled to wireless network           ogy may be applied to intranets and extranets as well.
   110 and are described in more detail in conjunction with FIG.             WWW origin servers 300 are coupled to WAN/LAN 200
   4. Generally, mobile devices 105-108 include any device                through communication mediums. WWW origin servers 300
   capable of connecting to a wireless network such as wireless      35   provide access to information and services as described in
   network 110. Such devices include cellular telephones, smart           more detail in conjunction with FIG. 3.
   phones, pagers, radio frequency (RF) devices, infrared (IR)               Network device 130 is coupled to WAN/LAN 200 and is
   devices, citizen band radios (CBs), integrated devices com-            described in more detail in conjunction with FIG. 4. Gener-
   bining one or more of the preceding devices, and the like.             ally, network device 130 includes any device capable of con-
   Mobile devices 105-108 may also include other devices that        40   necting to a data network, and includes the functionality to
   have a wireless interface such as PDAs, handheld computers,            play media included in a media playlist.
   personal computers, multiprocessor systems, microproces-                  FIG. 2 shows another example system in which a number
   sor-based or progrannnable consumer electronics, network               of local area networks (LANs") 220,, and wide area net-
   PCs, wearable computers, and the like.                                 works ("WANs") 230 are interconnected by routers 210.
      Wireless network 110 transports information to and from        45   Routers 210 are intermediary devices on a communications
   devices capable of wireless communication, such as mobile              network that expedite message delivery. On a single network
   devices 105-108. Wireless network 110 may include both                 linking many computers through a mesh of possible connec-
   wireless and wired components. For example, wireless net-              tions, a router receives transmitted messages and forwards
   work 110 may include a cellular tower linked to a wired                them to their correct destinations over available routes. On an
   telephone network. Typically, the cellular tower carries com-     50   interconnected set of LANs, including those based on differ-
   munication to and from cell phones, pagers, and other wire-            ing architectures and protocols, a router acts as a link between
   less devices, and the wired telephone network carries com-             LANs, enabling messages to be sent from one to another.
   munication to regular phones, long-distance communication              Communication links within LANs typically include twisted
   links, and the like.                                                   wire pair, fiber optics, or coaxial cable, while communication
      Wireless network 110 is coupled to WAN/LAN through             55   links between networks may utilize analog telephone lines,
   gateway 115. Gateway 115 routes information between wire-              full or fractional dedicated digital lines including T1, T2, T3,
   less network 110 and WAN/LAN 200. For example, a user                  and T4, Integrated Services Digital Networks (ISDNs), Digi-
   using a wireless device may browse the Internet by calling a           tal Subscriber Lines (DSLs), wireless links, or other commu-
   certain number or tuning to a particular frequency. Upon               nications links known to those skilled in the art. Furthermore,
   receipt of the number, wireless network 110 is configured to      60   computers, such as remote computer 240, and other related
   pass information between the wireless device and gateway               electronic devices can be remotely connected to either LAN s
   115. Gateway 115 may translate requests for web pages from             220, or WAN 230 via a modem and temporary telephone
   wireless devices to hypertext transfer protocol (HTTP) mes-            link. The number of WAN s, LANs, and routers in FIG. 2 may
   sages, which may then be sent to WAN/LAN 200. Gateway                  be increased or decreased without departing from the spirit or
   115 may then translate responses to such messages into a          65   scope of the describe embodiments. As such, it will be appre-
   form compatible with the requesting device. Gateway 115                ciated that the Internet itself may be formed from a vast
   may also transform other messages sent from wireless                   number of such interconnected networks, computers, and
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                                  5                                                                      6
   routers and that an embodiment could be practiced over the              NAVIGATOR® or Microsoft's INTERNET EXPLORER,
   Internet without departing from the spirit and scope of this            is a software application program for providing a graphical
   disclosure.                                                             user interface to the WWW. Upon request from the user via
       The media used to transmit information in communication             the WWW browser, the WWW browser accesses and
   links as described above illustrates one type of computer-         5    retrieves the desired hypertext document from the appropriate
   readable media, namely communication media. Generally,                  WWW origin server using the URL for the document and
   computer-readable media includes any media that can be                  HTTP. HTTP is a higher-level protocol than TCP/IP and is
   accessed by a computing device. Computer-readable media                 designed specifically for the requirements of the WWW.
   may include computer storage media, communication media,                HTTP is used to carry requests from a browser to a Web server
   or any combination thereof.                                        10   and to transport pages from Web servers back to the request-
       Communication media typically embodies computer-read-               ing browser or client. The WWW browser may also retrieve
   able instructions, data structures, program modules, or other           application programs from the WWW origin server, such as
   data in a modulated data signal such as a carrier wave or other         JAVA applets, for execution on a client computer.
   transport mechanism and includes any information delivery                  FIG. 3 shows an example WWW origin server 300 that is
   media. The term "modulated data signal" means a signal that        15   operative to provide a WWW site. Accordingly, WWW origin
   has one or more of its characteristics set or changed in such a         server 300 transmits WWW pages to the WWW browser
   manner as to encode information in the signal. By way of                application program executing on requesting devices to carry
   example, communication media includes wired media such                  out this process. For instance, WWW origin server 300 may
   as twisted pair, coaxial cable, fiber optics, wave guides, and          transmit pages and forms for receiving information about a
   other wired media and wireless media such as acoustic, RF,         20   user, such as user preferences, address, telephone number,
   infrared, and other wireless media.                                     billing information, credit card numbers, and the like. More-
       The Internet has recently seen explosive growth by virtue           over, WWW origin server 300 may transmit WWW pages to
   of its ability to link computers located throughout the world.          a requesting device that allow a user to participate in a WWW
   As the Internet has grown, so has the WWW. Generally, the               site. The transactions may take place over the Internet, WAN/
   WWW is the total set of interlinked hypertext documents            25   LAN 200, or some other communications network known to
   residing on HTTP servers around the world. Documents on                 those skilled in the art.
   the WWW, called pages or Web pages, are typically written in               WWW origin server 300 may include many more compo-
   HTML (Hypertext Markup Language) or some other markup                   nents than those shown in FIG. 3. However, the components
   language, identified by URLs (Uniform Resource Locators)                shown are sufficient to disclose an example embodiment. As
   that specify the particular machine and pathname by which a        30   shown in FIG. 3, WWW origin server 300 is connected to
   file can be accessed, and transmitted from server to end user           WAN/LAN 200, or other communications network, via net-
   using HTTP. Codes, called tags, embedded in an HTML                     work interface unit 310. Network interface unit 310 includes
   document associate particular words and images in the docu-             the necessary circuitry for connecting WWW origin server
   ment with URLs so that a user can access another file, which            300 to WAN/LAN 200, and is constructed for use with vari-
   may literally be halfway around the world, at the press of a       35   ous communication protocols including the TCP/IP protocol.
   key or the click of a mouse. These files may contain text (in a         Typically, network interface unit 310 is a card contained
   variety of fonts and styles), graphics images, movie files,             within WWW origin server 300.
   media clips, and sounds as well as Java applets, ActiveX                   WWW origin server 300 also includes processing unit 312,
   controls, or other embedded software programs that execute              video display adapter 314, and a mass memory, all connected
   when the user activates them. A user visiting a Web page also      40   via bus 322. The mass memory generally includes RAM316,
   may be able to download files from an FTP site and send                 ROM 332, and one or more permanent mass storage devices,
   messages to other users via email by using links on the Web             such as hard disk drive 338, a tape drive, CD-ROM/DVD-
   page.                                                                   ROM drive326, and/or a floppy disk drive. The mass memory
      A WWW origin server, as described in more detail in                  stores operating system 320 for controlling the operation of
   conjunction with FIG. 3, is a computer connected to the            45   WWW origin server 300. This component may comprise a
   Internet having storage facilities for storing hypertext docu-          general purpose server operating system, such as UNIX,
   ments for a WWW site and running administrative software                LINUXTM, Microsoft WINDOWS NT, and the like. Basic
   for handling requests for the stored hypertext documents. A             input/output system (BIOS") 318 is also provided for con-
   hypertext document normally includes a number of hyper-                 trolling the low-level operation of WWW origin server 300.
   links, i.e., highlighted portions of text which link the docu-     50      The mass memory as described above illustrates another
   ment to another hypertext document possibly stored at a                 type of computer-readable media, namely computer storage
   WWW site elsewhere on the Internet. Each hyperlink is asso-             media. Computer storage media may include volatile and
   ciated with a URL that provides the location of the linked              nonvolatile, removable and non-removable media imple-
   document on a server connected to the Internet and describes            mented in any method or technology for storage of informa-
   the document. Thus, whenever a hypertext document is               55   tion, such as computer readable instructions, data structures,
   retrieved from any WWW origin server, the document is                   program modules or other data. Examples of computer stor-
   considered to be retrieved from the WWW. As is known to                 age media include RAM, ROM, EEPROM, flash memory or
   those skilled in the art, a WWW origin server may also                  other memory technology, CD-ROM, digital versatile disks
   include facilities for storing and transmitting application pro-        (DVD) or other optical storage, magnetic cassettes, magnetic
   grams, such as application programs written in the JAVA            60   tape, magnetic disk storage or other magnetic storage devices,
   programming language from Sun Microsystems, for execu-                  or any other medium which can be used to store the desired
   tion on a remote computer. Likewise, a WWW origin server                information and which can be accessed by a computing
   may also include facilities for executing scripts and other             device.
   application programs on the WWW origin server itself.                      The mass memory also stores program code and data for
      A user may retrieve hypertext documents from the WWW            65   providing a WWW site. More specifically, the mass memory
   via a WWW browser application program located on a wired                stores applications including WWW server application pro-
   or wireless device. A WWW browser, such as Netscape's                   gram 330, programs 334, and rich media presentation appli-
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   cation 336. Generally, rich media presentation application              The mass memory as described above illustrates another
   336 generates and provides rich media presentations to a             type of computer-readable media, namely computer storage
   requesting network device (See FIGURES and related dis-              media. Computer storage media may include volatile and
   cussion below). WWW server application program 330                   nonvolatile, removable and non-removable media imple-
   includes computer executable instructions which, when           5    mented in any method or technology for storage of informa-
   executed by WWW origin server 300, generate WWW                      tion, such as computer readable instructions, data structures,
   browser displays, including performing the logic described           program modules or other data. Examples of computer stor-
   above. WWW origin server 300 may include a JAVA virtual              age media include RAM, ROM, EEPROM, flash memory or
   machine, an SMTP handler application for transmitting and            other memory technology, CD-ROM, digital versatile disks
                                                                   10   (DVD) or other optical storage, magnetic cassettes, magnetic
   receiving email, an HTTP handler application for receiving
                                                                        tape, magnetic disk storage or other magnetic storage devices,
   and handing HTTP requests, JAVA applets for transmission to
                                                                        or any other medium which can be used to store the desired
   a WWW browser executing on a client computer, and an
                                                                        information and which can be accessed by a computing
   HTTPS handler application for handling secure connections.           device.
   The HTTPS handler application may be used for communi-          15      The mass memory also stores program code and data used
   cation with external security applications (not shown), to           within network device 400. More specifically, the mass
   send and receive private information in a secure fashion.            memory stores applications including rich media presenta-
      WWW origin server 300 may also comprise input/output              tion application 430, and programs 434. Programs 434 may
   interface 324 for communicating with external devices, such          include computer executable instructions which, when
   as a mouse, keyboard, scanner, or other input devices not       20   executed by network device 400, transmit and receive WWW
   shown in FIG. 3. Likewise, WWW origin server 300 may                 pages, e-mail, audio, video, and the like. One or more pro-
   further comprise additional mass storage facilities such as          grams 434 may be loaded into memory 448 and run under
   CD-ROM/DVD-ROM drive 326 and hard disk drive 338.                    control of operating system 420. Generally, rich media pre-
   Hard disk drive 338 is utilized by WWW origin server 300 to          sentation player application 430 receives rich media presen-
   store, among other things, application programs, databases,     25   tations from a provider and performs the multimedia content
   and program data used by WWW server application program              relating to the rich media presentations (See FIGURES and
   330. For example, customer databases, product databases,             discussion below). Examples of application programs
   image databases, and relational databases may be stored.             include radio tuner programs, phone programs, communica-
      FIG. 4 shows an example network device 400 that may be            tion programs, productivity programs (word processing,
   used to receive packages, according to one example embodi-      30   spreadsheet, etc.), browser programs, and the like. Network
   ment. Network device 400 may be arranged to transmit and             device 400 also includes ROM 432. ROM 432 may be used to
   receive data on a wireless network or wired network. For             store data that should not be lost when network device 400
   instance, network device 400 may send and receive data from          loses power.
   other network devices (not shown) and servers (See FIG. 3               Network device 400 also comprises input/output interface
   and related discussion) as well as receiving content, such as   35   424 for communicating with external devices, such as a head-
   rich media presentations including media packages, presen-           set, or other input or output devices not shown in FIG. 4. Data
   tation packages, and virtual players, as described below. The        storage 436 is utilized by network device 400 to store, among
   data transmissions may take place over the Internet, WAN/            other things, application programs, databases, and program
   LAN 200, or some other communications network.                       data used by the mobile device broadcast delivery applica-
      Network device 400 may include many more components          40   tion. For example, user databases, product databases, image
   than those shown in FIG. 4. However, the components shown            databases, and relational databases may be stored. Keypad
   are sufficient to disclose an example embodiment. As shown           458 may be any input device arranged to receive inputs from
   in the figure, mobile device 400 includes central processing         a user. For example, keypad 458 may be a push button
   unit 412, memory 448, RAM 416, ROM 432, operating sys-               numeric dialing keypad, or a keyboard. Display 456 may be a
   tem 420, application 430, programs 434, data storage 436,       45   liquid crystal display, or any other type of display commonly
   bios 418, power supply 426, input/output interface 424, net-         used in network devices. Display 456 may also be a touch
   work interface unit 410, LED display 450, audio interface            screen arranged to receive a user's inputs Infrared input/
   454, display 456, keypad 458, and infrared input/output 460.         output 460 may be used to send and receive infrared com-
      Mobile device 400 may connect to WAN/LAN 200, or                  mands.
   other communications network, via network interface unit        50      Power supply 426 provides power to network device 400.
   410. Network interface unit 410 includes the necessary cir-          According to one embodiment, a rechargeable battery pro-
   cuitry for connecting the network device 400 to WAN/LAN              vides power. The power may be also be provided by an exter-
   200, and is constructed for use with various communication           nal power source, such as an AC adapter or a powered docking
   protocols including the TCP/IP protocol. Network interface           cradle that supplements or recharges the battery.
   unit 410 may include a radio layer (not shown) that is          55      As shown, network device 400 includes light emitting
   arranged to transmit and receive radio frequency communi-            diode (LED) display 450, and audio interface 454. LED dis-
   cations. Network interface unit 410 connects network device          play 450 may be controlled to remain active for specific
   400 to external devices, via a communications carrier or             periods or events. For example, an LED display may stay on
   service provider.                                                    while the phone is powered or may light up in response to
      Mass memory 448 generally includes RAM 416, ROM              60   other events. Audio interface 454 is arranged to receive and
   432, and one or more data storage units 436. The mass                provide audio signals. For example, audio interface 454 may
   memory stores operating system 420 for controlling the               be coupled to a speaker (not shown) to provide audio from a
   operation of mobile device 400. This component may com-              telephone call, a tuner, or from some other audio source.
   prise a general purpose operating system such as a version of        Audio interface 454 may also be coupled to an input device,
   UNIX, LINUXTM, Microsoft WINDOWS®, and the like.                65   such as a microphone, to receive audio input.
   Basic input/output system ("BIOS") 418 is also provided for             FIG. 5 illustrates a functional block diagram showing an
   controlling the low-level operation of network device 400.           on-demand content delivery system using a CDN, according
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                                  9                                                                       10
   to one embodiment. As shown in the figure, on-demand con-                   The device may receive rich media presentations from
   tent delivery system 500 includes network device 510, CDN                many different networks. Network device content 605 may
   520, and origin server 530. Network device 510 and origin                come from streaming services networks 610, content delivery
   server 530 are coupled to CDN 520 through a network, such                networks 615, edge caching networks 620, as well as other
   as a packet switched network.                                       5    networks (not shown). Restrictor 625 may restrict the device
      Network device 510 requests content from a CDN. The                   from receiving rich media presentations. According to one
   content request may be for any type of content available from            embodiment, restrictor 625 determines when the request for
   CDN 520 ororigin server 530. According to one embodiment,                the rich media presentations is coming from a supported site.
   the content request is for content associated with virtual               A supported site is a site on the network that has an affiliation
   player packages. For example, the content may be for a virtual      10   with the provider of the rich media presentations. For
   player, presentation packages, or media packages that are                example, a site not affiliated with the provider may attempt to
   specifically encoded for network device 510. CDN 520                     incorporate the rich media presentations on their site. When
   receives the content request and attempts to assemble the                the rich media presentations are requested by the device,
   content based on instructions from origin server 530. When               restrictor 625 will recognize that the request is coming from
   the requested content is available, CDN 520 delivers the            15   an unaffiliated site and deny access. Restrictor 625 may be
   requested content to requesting device 510. When the                     programmed to do many other tasks. For example, restrictor
   requested content is not available on CDN 520, CDN 520                   625 may be programmed to return different versions of rich
   obtains the requested content from origin server 530. The                media presentations having varying capability based on the
   content may not be available on CDN 520 for many reasons.                site location or some other attribute.
   For example, the requested content may be expired, new              20      When the request for the rich media presentations moves
   content may be available, or the requested content may not be            beyond restrictor 625, device trackers and detectors 650
   located on CDN 520. As mentioned above, when the content                 determines the requesting device's attributes (See FIGS. 8,
   is not available on CDN 520, CDN 520 obtains the content                 10, and 11 and related discussion). Generally, device trackers
   from origin server 530. The content is then maintained by                and detectors 650 determine the attributes to send optimized
   CDN 520 according to the instructions regarding the content         25   rich media presentations to the requesting device. Based on
   obtained from origin server 530. For example, CDN 520 may                the attributes of the requesting device, the rich media presen-
   be instructed to maintain the content for some predetermined             tations are assembled. An example illustration of the opera-
   period. CDN 520 may be instructed to maintain the content                tion of the rich media presentation system will now be
   for one minute, ten minutes, one day, one week, and the like.            described.
   CDN 520 delivers the content to the requesting device after it      30      The object handlers including presentation package assem-
   has obtained the content from origin server 530.                         bler 630, virtual player assembler 635, and media package
      CDN 520 may be any number of CDNs available. For                      assembler 640 may create their respective packages in
   example, the following is a partial list of available CDN s and          advance of a request by a device or create the packages "just
   competing CDN technologies that may be used in accordance                in time" (JIT) to meet the requesting device's configuration.
   with one or more embodiments. The list is not meant to be           35   For example, virtual player assembler may encode the virtual
   exhaustive or provide all of the details relating to the CDN.            player package to be optimized for a WINDOWS 98 operat-
   Akamai provides content delivery and streaming media ser-                ing system using Windows Media Player V7 .0 or some other
   vices, along with global traffic management. AppStream's                 device. According to one embodiment, the encoded virtual
   infrastructure monitors the usage of central databases and               player packages are stored in a database and sent to a CDN
   applications, segments them, and proactively moves the com-         40   and cached for a predetermined time. According to another
   puting resources to application servers closest to the users that        embodiment, the virtual player packages are encoded when
   need them. AT&T ICDS monitors the origin Web site for                    requested by a device.
   changes in content and replicates the changes on mirror sites               Virtual player assembler 635 creates a virtual player for the
   across their worldwide networks and data facilities, including           requesting device. Different media players may be used by
   an expansive cable network. Digital Island provides delivery        45   the virtual player. For example, Microsoft's Media Player and
   of all major kinds of content, including streaming media, and            Real Networks' Media Player may be used by the virtual
   features multiple authentication methods to provide secure               player to play the media packages. The virtual player assem-
   content delivery. SolidSpeed uses intelligent routing and net-           bler uses attributes determined by device tracker and detec-
   work optimization to bypass internet bottlenecks. They work              tors 650 to create optimized virtual player code for the
   to find the most efficient route between your customers and         50   requesting device. Instead of an e-retailer having to include
   your content. Speedera's CDN pushes content from web ori-                code on a web page for every possible media player, the
   gin sites to caching servers at the "edge" of the Internet, much         e-retailer only includes a single line of code. The line of code
   closer to users. XOSoft's CDN sends only the changes of                  is simply a request for an include file from a server. This
   documents combining mirrors and caches to synchronize                    include file contains the required JavaScript functions for a
   content worldwide, and deliver fresh content to users quickly.      55   given browser and for the implementation of the videos relat-
   As can be seen, the available CDNs are extensive and the                 ing to the presentation package and media package on a given
   appropriate CDN s may be chosen based on the content being               web page. According to one embodiment, e-retailers place
   delivered to the requesting device.                                      this line of code at the top of the body section of each Web
      FIG. 6 illustrates a schematic diagram of a rich media                page where a video will be available to the requesting device.
   presentation system in accordance with one or more embodi-          60      When loading a Web page containing the code, a network
   ments. As illustrated in the figure, rich media presentation             device requests the include file from servers relating to the
   system 600 includes network device content 605, streaming                provider. Before the virtual player code is delivered to the
   services networks 610, content delivery networks 615, edge               network device to be stored in network device content 605,
   caching networks 620, restrictors 625, presentation package              device trackers and detectors 650 performs operating system
   assembler 630, virtual player assembler 635, media package          65   and browser detection. This detection allows the virtual
   assembler 640, stream switch 645, and device trackers and                player assembler 635 to return the appropriate include file, the
   detectors 650.                                                           contents of which are browser specific. If the provider does
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                                   11                                                                         12
   not support a device's configuration, the provider sends
   required packages containing stub functions. The returned
                                                                            <script language="JavaScript" type="text/javascript">
   include file including the browser and system specific code is           var vnd idletOverride_{IdletPseudonym} = new
   approximately 18 KB in size and will remain in the requesting            vnd obj ldletOverride({LocationTop}, {LocationLeft}, "{Locator}",
   device's browser cache. Thereafter, each time a requesting 5             "{BURL}", {ShowLen}, {CenterScreen}, {AutoHide});
                                                                            </script>
   device requests the include file, the provider instructs the
   browser to use the copy of the file stored in the cache. A
   requesting device downloads this file again only if there has                   where:
   been a change to the include file on the server-side, or when                   {IdletPseudonym} is a value that uniquely identifies an
   the include file cannot be found in the cache. Example syntax '                    e-retailer's presentation package.
   for this line of code is as follows:                                            {LocationTop} is the top coordinate of the player skin or
                                                                                      video, if no skin is selected.
                                                                                   {LocationLeft} is the left coordinate of the media skin or
                                                                             15
                                                                                      video, if no skin is selected.
         <script srec="http://ondemand.vendaria.com/envision/idletize.idlet"
         language="JavaScript1.2" type="text/javascript"></script>                 {Locator} is the name of an image object located on the
                                                                                      page used for positioning the top and left coordinates of
                                                                                      the media player skin or video, if no skin is selected.
       Presentation package assembler 630 sets the presentation
                                                                                   {BURL} is the complete URL of the image you will use to
   attributes relating to the virtual player and media package. A
                                                                                       start a video in lieu of the "watch video" button.
   presentation package line of code is included in the e-retailers ""
                                                                                   { Show Len} is the indicator that determines if text describ-
   Web page requesting a presentation package include file from
                                                                                      ing the length of the video will appear next to the Watch
   a server. According to one embodiment, the presentation
                                                                                      Video button.
   package include file contains creative specific presentation-
                                                                                   {LocCenterScreen} is the indicator that determines if the
   package information, a combination of a "Watch Video" but- 25
                                                                                       skin and media player will be centered in the middle of
   ton, a customized media player skin, and a presentation type
                                                                                      the screen. If the value is set to false, then the skin or
   (embedded or popup). Multiple presentation packages may
                                                                                      media player will be located based on the default
   be used by thee-retailer. For example, a different package for
                                                                                      attributes of the presentation package or the override
   each video on your site may be used. The presentation pack-
                                                                                      values found in {LocationTop} and {LocationLeft} or
   age include file is approximately 4 KB in size and remains in 30
                                                                                       {Locator}.
   the requesting device's browser cache. Thereafter, each time
                                                                                   { Auto Hide} is an optional indicator that determines if the
   the presentation package include file is requested by the                          media player layers disappear upon completion of a
   device, the provider instructs the browser on the requesting                       video. If the value is true, the skin and/or media player
   device to use the copy of the file stored in the cache. A                          disappear immediately upon completion of the video; if
   requesting device downloads this file again when there has 35                      false, the skin and/or media player will remain displayed
   been a change to the presentation package include file or                          on the page along with the final frame of the video.
   when the file cannot be found in the cache. Because e-retailers                 The video may also be set to automatically start playing.
   will likely use the same presentation package on multiple                    Auto-play functionality enables a video to start playing
   product pages, the speed and performance of the media pre-                   immediately after a Web page has been loaded in a requesting
   sentation will improve markedly once a device has down- " device's browser. For example, this feature might be used to
   loaded the presentation package include file. An example                     play a video welcoming an on-line consumer to a site or to
   syntax for this line of code is as follows:                                  provide instructions to consumers. According to one embodi-
                                                                                ment, e-retailers include the autoLoad function in the onload
                                                                                event in the body tag as follows: <body on Load         "vnd--
                                                                             45 autoLoad()>
   <script src="http://ondemand.vendaria.com/envision/{IdletPseudonym}.
   idlet" language="JavaScript" type="text/javascript"></script>                   Media package assembler 640 assembles the combination
                                                                                of multimedia specific code and returns a media package
                                                                                include file to the requesting device. A third line of code is
   where: {IdletPseudonym} is a value that uniquely identifies                  included within thee-retailers Web pages where thee-retailer
   an e-retailer's presentation package.                                     "0 would like a watch video button to appear on a product page.
       The code in the presentation package include file allows                 A server downloads the approximately 1 KB media package
   many presentation attributes relating to the rich media pre-                 include file in a requesting device's browser cache each time
   sentation to be set. For example, the rich media presentation's              the device accesses a Web page where a rich media presenta-
   precise play location on a Web page may be set. A skin for the               tion exists. An example syntax for this line of code is as
   virtual player may be set. Images for buttons may be set. For 55 follows:
   example, an image separate from the default image for the
   "watch video" button may be set. The length of the rich media
   presentation may be displayed at a defined location. The
   presentation package and/or virtual player window may be                     <script src=''http://ondemand.vendaria.com/envision/
   automatically closed once a rich media presentation has 60 {Adlet Pseudonym}.adlet?idlet= {IdletPseudonym}" language="JavaScript"
                                                                                type="text/javascript"></script>
   stopped playing. In addition, text links may be used instead of
   buttons with images to trigger the start of a rich media pre-
   sentation. Other presentation attributes may also be set. The                where:
   attributes may be set within a Web page, or may be set using                 { AdletPseudonym} is a value that identifies a unique combi-
   anAPI. The following is an example syntax for defining some 65 nation of a video in a video library and an e-retailer offering
   of the presentation attributes associated with the rich media                that video to on-line consumers. {IdletPseudonym} is a value
   presentation on a Web page.                                                  that uniquely identifies an e-retailer's presentation package.
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                                 13                                                                      14
       Stream switch 645 may be selected to provide streaming              network device is authorized to receive the rich media pre-
   content to the requesting device.                                       sentations. A device may not be authorized if the device is
       FIG. 7 shows an overview of the rich media presentation             requesting the rich media presentations from an unaffiliated
    system, in accordance with one or more embodiments. As                 site. A site may not be affiliated when it does not have a
    shown in the figure, rich media presentation system 700           5    relationship with the provider of the virtual player packages.
   includes device 705, restrictor 715, web document 710,                  Stepping to decision block 920, a decision is made as to
   device specific package requester block 720, cache checking             whether the network device is authorized to receive the rich
   block 725, caching block 730, generate package block 735,               media presentations. When the network device is not autho-
   and provide packages block 740.                                         rized, the process moves to block 930, at which point the
       The operation of rich media presentation system 700 will       10
                                                                           network device is refused service. When the service is
   now be described. Device 705 requests client's web docu-
                                                                           refused, the process steps to an end block. When the network
   ment 710 that initiates a request for rich media presentations
                                                                           device is authorized, the process moves to block 940, where
   from the provider. Upon accessing web document 710, device
   705 requests optimized packages from the provider. The                  the network device's attributes are determined (See FI GS. 10
   request goes through restrictor block 715 that may restrict        15
                                                                           and 11 and related discussion). Moving to block 950, the rich
   access to the provider upon predefined conditions. For                  media presentations needed by the device are provided to the
   example, if the client is not affiliated with the provider the          device (See FIGS. 12-13 and related discussion). The process
   request for the packages may be denied. When the request is             then steps to an end block.
   not denied package request block 720 requests device specific              FIG. 10 illustrates a process for determining attributes
   packages from the provider. Cache checking block 725 deter-        20   related to a network device, according to one embodiment.
   mines whether the packages are cached. If so, the packages              After a start block, the logic flows to block 1010, where the
   are provided to device 705 from the cached location by pack-            process detects the basic operating attributes of the requesting
   age provider block 740, such as a content delivery network.             device. The basic operating attributes of the device are used to
   When the packages are not cached the provider generates the             help create rich media presentations that are optimized for the
   packages specific to the device and caches them at which           25   requesting device. According to one embodiment, the basic
   point, package provider block 740 provides the packages to              attributes include the operating system, browser, and media
   device 705.                                                             player used by the requesting device. Other basic attributes
       FIG. 8 illustrates an attribute inquiry system containing a         may be used depending on the content to deliver to the
    set of example basic attributes of network devices, according          requesting device. Moving to decision block 1020, a decision
   to one embodiment. Generally, attribute inquiry system 800         30   is made as to whether the basic operating characteristics are
   determines the requesting device's basic configuration                  supported by the rich media presentation system. When the
   including the operating system, browser, and media player               operating characteristics of the requesting device are not sup-
   used by the requesting device.                                          ported, the logical flow moves to block 1030 at which point
       Server 805 communicates with the requesting device and              the requesting device is informed that it is not supported.
   receives basic configuration information in return. The con-       35   When the basic operating characteristics of the requesting
   figuration information is used to help optimize the requesting          device are supported, the process flows to block 1040 where
   device's media experience. According to one embodiment,                 additional attributes are obtained from the requesting device.
   javascript code is executed on the requesting device that sends         The additional attributes provide the system with information
   the basic attribute information to server 805.                          that allows further optimization of the delivery of the content
       For example, server 805 receives the operating system          40   (See FIG. 11 and related discussion). The logical flow then
    (OS) and browserused by the network device (block830). For             ends.
   example, the requesting device of block 810 has a configura-               FIG. 11 illustrates a process for retrieving additional
   tion using the WINDOWS XP operating system and using the                attributes from the network device, according to one embodi-
   Internet Explorer 6.0 browser. The requesting device of block           ment. After a start block, the logical flow moves to block 1110
   820 uses the UNIX operating system and uses Netscape 4.5 as        45   where the language used by the device is determined. The
   the browser. The requesting device of block 840 uses the                determined language is used to provide the device with con-
   WINDOWS ME operating system and uses Internet Explorer                  tent matching their language preference. For example, if the
    5.0 as the browser. The requesting device of block 850 uses            determined language is Spanish, then the rich media presen-
   the WINDOWS NT operating system and Netscape 4.75 as                    tations will be delivered to the device such that Spanish is
   the browser. The requesting device of block 820 uses the           50   supported. Similarly, if the determined language is English,
   UNIX operating system and Netscape 4.5 as the browser. The              then the rich media presentations are encoded for English.
   requesting device of block 870 is a mobile device. According            Flowing to block 1120, the network bandwidth is determined.
   to this embodiment, server 805 receives the mobile device's             The network bandwidth may be determined many different
   OS, browser, as well as its media player information. Simi-             ways. According to one embodiment, the bandwidth is deter-
   larly, server 805 receives the requesting device's media           55   mined automatically by performing a download test on the
   player according to one embodiment (block 860). The media               requesting device. The requesting device may download a
   player may be any media player type. For example, two                   very small file having a predetermined size for a given period
   popular media players include Real Player developed by Real             of time. The bandwidth is determined based on the number of
   Networks Corp. and Windows Media Player developed by                    files successfully downloaded for the given period of time. As
   Microsoft Corp. In addition to obtaining the brand of media        60   the network conditions may change over time, the download
   player, server 805 also obtains the version of the media player.        test may be repeated. Moving to block 1130, a determination
   The media player information is used to produce the virtual             is made as to whether a firewall is present on the requesting
   player packages to be delivered to the requesting device.               device. Transitioning to block 1140 permissions on the
       FIG. 9 shows an overview process of providing rich media            requesting device are determined. For example, permissions
   presentations to an authorized network device, according to        65   may be set that disable the ability to perform certain opera-
   one embodiment. After a start block, the logical flow moves to          tions across a network. Moving to block 1150, other attributes
   block 910 where a determination is made as to whether the               may be determined. Another attribute may be a protocol
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                                 15                                                                   16
   restrictions attribute or the other attributes may include any       the specific features or techniques described. Rather the spe-
   attributes that help to optimize the rich media presentations        cific features or techniques are disclosed as examples of pro-
   for the requesting device.                                           viding rich media presentations to network devices in accor-
      FIG. 12 illustrates a process for selecting a content pro-        dance with one or more embodiments.
   vider to provide a rich media presentation to a device, accord- 5       What is claimed is:
   ing to one embodiment. After a start block, the process moves           1. A computer-implemented method implemented by at
   to decision block 1210, where the process determines                 least one device of a content delivery system, the method
   whether the rich media presentations needed for the device           comprising:
   are cached. When the rich media presentations are not cached,           processing requests for media content from network
   the process moves to block 1220 where the process creates a 10             devices to determine whether the network devices are
   rich media presentation for the requesting device. Generally,              supported by the content delivery system; and for at least
   the rich media presentation may be any or all of the following:            one network device that is supported:
   a virtual player, a presentation package and a media package.           configuring a content package for media content that is
   Moving to block 1230 the rich media presentation is cached                 requested by the network device to include code specific
   for later retrieval by a device. Transitioning to block 1240, the 15       to a browser of the network device identified based upon
   rich media presentation is delivered to the device. When the               one or more attributes of the network device;
   rich media presentation is cached the process steps to block            causing communication of the content package to the net-
   1250 at which point the cached rich media presentation is sent             work device; and
   to the device. The process then steps to an end block and               wherein the one or more attributes include one or more of
   terminates.                                                       20       basic operating characteristics of the at least one net-
      FIG. 13 shows a process for providing rich media presen-                work device, a language attribute, a bandwidth attribute,
   tations to a device, according to one embodiment. After a start            a firewall attribute, or a permissions attribute.
   block, the process moves to decision block 1310, where a                2. The method of claim 1 further comprising, for a network
   determination is made as to whether an up-to-date virtual            device that is not supported, denying access to the media
   player is already on the device. A virtual player is provided to 25 content.
   the device when a virtual player is not in a cache on the device,       3. The method of claim 1, wherein the content package
   or when an updated virtual player is available from the pro-         comprises a virtual player package configured to define a
   vider. When a virtual player is not on the device, the process       virtual player configured to play the media content at the at
   moves to block 1320, at which point a virtual player package         least one network device.
   is created for the device.                                        30    4. The method of claim 1, wherein the content package
      The process transitions to decision block 1330, where a           comprises a virtual player package, a presentation package,
   determination is made as to whether an up-to-date presenta-          and a media package configured for the at least one network
   tion package is already on the device. A presentation package        device based on the one or more attributes.
   is provided to the device when a presentation package is not            5. The method of claim 1 further comprising detecting the
   in a cache on the device, or when an updated presentation 35 one or more attributes of the at least one network device.
   package is available. When a presentation package is not on             6. The method of claim 1, wherein configuring the content
   the device, the process moves to block 1340, at which point a        package comprises obtaining the media content from within
   presentation package is created for the device.                      the content delivery system.
      The process steps to decision block 1350, where a deter-             7. The method of claim 1, wherein configuring the content
   mination is made as to whether an up-to-date media package 40 package comprises determining that the media content is not
   is already on the device. A media package is provided to the         available from within the content delivery system and obtain-
   device when a media package is not in a cache on the device,         ing the media content from an origin server.
   or when an updated media package is available. When a                   8. The method of claim 7, further comprising caching the
   media package is not on the device, the process moves to             media content obtained from the origin server at the content
   block 1340, at which point a media package is created for the 45 delivery system to service subsequent requests.
   device. According to one embodiment, a media package is                 9. The method of claim 1 further comprising:
   provided to the device at each request as the media package is          determining whether the content package for the media
   typically very small in size (approximately lK).                           content is cached at the at least one network device; and
      Moving to block 1370, the created packages are provided              performing the configuring and causing communication of
   to the device.                                                    50       the content package responsive to determining that the
      FIG. 14 shows a process for an e-retailer to create and                 content package is not cached at the at least one network
   modify rich media presentations, in accordance with one or                 device.
   more embodiments. After a start block, the process moves to             10. The method of claim 9 further comprising, responsive
   block 1410, where the e-retailer, or some other party, may           to determining that the content package for the media content
   generate rich media presentations utilizing a Virtual Player 55 is cached at the at least one network device:
   Exposed API that is not device specific. Transitioning to               determining whether an updated content package is avail-
   decision block 1420, a decision is made as to whether the                  able;
   presentation or media packages are to be updated. When the              responsive to determining that the updated content package
   packages are not updated, the process steps to an end block.               is available, causing communication of the updated con-
   When they are to be updated, the appropriate updates are 60                tent package to the at least one network device; and
   made and the process moves to block 1430 at which point the             responsive to determining that an updated content package
   device receives the changed packages. The process then steps               is not available; instructing the at least one network
   to an end block.                                                           device to use the content package cached at the at least
      The above specification, examples and data provides a                   one network device.
   description of the manufacture and use of the composition of 65         11. The method of claim 1, wherein the network device is
   one or more example embodiments. It is to be understood that         a mobile device configured to connect to the at least one
   the scope of the appended claims is not necessarily limited to       device of the content delivery system via a wireless network.
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                                 17                                                                        18
      12. The method of claim 1, wherein configuring the content            rich media presentation via the virtual player, or a media
   package comprises:                                                       package configured to designate content for inclusion in the
      creating one or more device specific packages for the at              rich media presentation.
         least one network device including at least one of a                   16. The computer-readable medium of claim 14, wherein
         virtual player package configured to encode a virtual         5    the request for the device specific packages is received by the
                                                                            content delivery system responsive to loading of request code
         player selected for the at least one network device, a
                                                                            at the network device, the request code included in a web page
         presentation package configured to set presentation                for the rich media presentation to cause the network device to
         attributes for presentation of the media content via the           form the request for the device specific packages.
         virtual player, and a media package configured to iden-                17. The computer-readable medium of claim 14, wherein
                                                                       10
         tify a source of the media content; and                            the cache location comprises storage at the network device.
      assembling the one or more device specific packages to                    18. The computer-readable medium of claim 14, wherein
         form the content package.                                          the cache location is a storage device accessible to the net-
      13. The method of claim 1, wherein configuring the content            work device over a communication network.
   package comprises:                                                           19. A computing device for content delivery, comprising:
                                                                       15       a device configured to determine one or more attributes of
      determining whether up-to-date versions of a plurality of
                                                                                   a network device responsive to a request from the net-
         device specific packages are cached by the at least one                   work device for a rich media presentation wherein the
         network device; and                                                       detected attributes comprises one or more of device
      assembling the content package to include up-to-date ver-                    operating characteristics, a language attribute, a band-
         sions of device specific packages of the plurality in         20          width attribute, a firewall attribute, or a permissions
         response to a determination that the plurality of device                  attribute; and
         specific packages are not cached by the at least one                   an object handler configured to cause at least part of the
         network device.                                                           rich media presentation to be assembled for delivery to
      14. One or more computer readable storage media having                       the network device so that the at least part of the rich
   instructions stored thereon that, in response to being executed     25          media presentation is configured according to the one or
   by one or more devices of a content delivery system, cause the                  more attributes of the network device determined by a
   one or more devices to perform operations comprising:                           device tracker and detector to include browser specific
      detecting attributes of a network device in response to a                    code specific to an identified browser of the network
         request from the network device for device specific                       device.
                                                                                20. The computing device of claim 19, further comprising
         packages associated with a rich media presentation
                                                                            a restrictor configured to receive the request from the network
         wherein the detected attributes comprises one or more of
                                                                            device and determine if the network device is supported.
         device operating characteristics, a language attribute, a
                                                                                21. The computing device of claim 20, wherein the restric-
         bandwidth attribute, a firewall attribute, or a permissions
                                                                            tor is configured to restrict the network device from receiving
         attribute;
                                                                       35   the rich media presentation if the restrictor determines that
      determining whether the requested device specific pack-
                                                                            the network device is not supported.
         ages are cached in a cache location;
                                                                                22. The computing device of claim 19, wherein the object
      for requested device specific packages that are cached,
                                                                            handler comprises a presentation package assembler config-
         communicating instructions to cause the network device
                                                                            ured to assemble a presentation package that is configured
         to obtain the cached device specific packages from the
                                                                       40   according to the one or more attributes of the network device.
         cache location;
                                                                                23. The computing device of claim 19, wherein the object
      for requested device specific packages that are not cached:
                                                                            handler comprises a virtual player assembler configured to
      automatically generating device specific packages that are
                                                                            cause assembly of a virtual player that is configured accord-
         configured for the device in accordance with the
                                                                            ing to the one or more attributes of the network device.
         detected attributes including configuring the device spe-
                                                                       45       24. The computing device of claim 19, wherein the object
         cific packages to correspond to a browser of the network
                                                                            handler comprises a media package assembler configured to
         device identified based on the detected attributes; and
                                                                            cause assembly of a media package that is configured accord-
      communicating the generated device specific packages to
                                                                            ing to the one or more attributes of the network device.
         the network device.
                                                                                25. The computing device of claim 19, wherein the object
      15. The computer-readable storage medium of claim 14,
                                                                       50   handler comprises a stream switch configured to configure
   wherein the device specific packages include at least one of a
                                                                            the rich media package to be streamed to the network device.
   virtual player selected for the network device, a presentation
   package configured to set attributes for presentation of the                                    *   *   *    *   *
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,122,004 B2                                                                                       Page 1 of 1
APPLICATION NO.             : 12/605830
DATED                       : February 21, 2012
INVENTOR(S)                 : Hegde et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         Title page, item (12), under "United States Patent", in Column 1, Line 1, and Item (75) under
         "Inventors", in Column 1, Line 1, delete "Hedge" and insert -- Hegde --.

         Title page, item (56), under "Other Publications", in Column 2, Line 3, delete "Confrence" and
         insert -- Conference --.

         Column 17, Line 49, in Claim 15, delete "The computer-readable storage medium of claim 14," and
         insert -- The one or more computer readable storage media of claim 14, --.

         Column 18, Line 4, in Claim 16, delete "The computer-readable medium of claim 14," and
         insert -- The one or more computer readable storage media of claim 14, --.

         Column 18, Line 9, in Claim 17, delete "The computer-readable medium of claim 14," and
         insert -- The one or more computer readable storage media of claim 14, --.

         Column 18, Line 11, in Claim 18, delete "The computer-readable medium of claim 14," and
         insert -- The one or more computer readable storage media of claim 14, --.




                                                                                   Signed and Sealed this
                                                                              Eleventh Day of September, 2012


                                                                                0.g-                David J. Kappos
                                                                               Director of the United States Patent and Trademark Office
